              Case 2:24-cv-05077-GRB-ARL                                                                         Document 1-1                                      Filed 07/22/24                                    Page 1 of 2 PageID #:
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JS 44 (Rev. 03124)                                                                                      CML COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by l aw, except as
provided by local rules of court. This fonn. approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INS'I'RUCTJONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS                                                                                                                                         DEFENDANTS
       STEVEN NERAYOFF                                                                                                                                     TYLER FAYARD
     (b) County ofResidence ofFirst Listed Plaintiff .,_N
                                                        = A
                                                          -"S SA.,,
                                                            ==-c U'------­                                                                                County ofResidence ofFirst Listed Defendant                                       Johnson County, KS
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                          NOTE: lN LAND CONDEMNATION CASES, USE TIIE LOCATION OF
                                                                                                                                                                  TIIE TRACI OF LAND INVOLVED.

     (c) Attorneys {Firm Name. Address. and Telephone Number)                                                                                               Attorneys (IfKnown)

                 SALTA & ASSOCIATES, PC, 630 9th AVE., STE 405, NEW YORK, NY
                 10036-(917) 562-3347

II. BASIS OF JURISDICTION (Place an "X" inOne Box On/yJ                                                                               m. CITIZENSHIP OF PRINCIPAL PARTIES(Piacean "X"inOneBoxforP/aintiff
                                                                                                                                                     (For DiversUy CasesOnly)                                                               andOne Boxfor Defendant)
0 1 U.S. Government                                   0 3 Federal Question                                                                                                               PTF            DEF                                                              PTF           DEF
       Plaintiff                                            (lJ.S. Government Not a Party)                                                   Citizen of This State                       �I           D            Incorporated or Principal Place                       O4            04
                                                                                                                                                                                                                      ofBusiness In This State

0 2 U.S. Government                                   � 4 Diversity                                                                          Citizen of Another State                    02           � 2          Incorporated and Principal Place                      Os Os
      Defendant                                             (Indicate Citizenship ofParties in Item III)                                                                                                             of Business In Another State

                                                                                                                                             Citizen or Subject of a
                                                                                                                                                 Foreign CoW1try
                                                                                                                                                                                         03            □      3    Foreign Nation                                        06            06

IV. NATURE OF SUIT Placean "X"inOneBoxOnl                                                                                                                                                     Click here for: Nature of Suit Code Descri tions.
             ' CONTRACT                                                                TORTS                                                             FORFEITURE/PENALTY
     110 Insurance                                         PERSONAL INJURY                    PERSONAL INJURY                                            625 Drug Related Seizure                                422 Appeal 28 USC 158                               375 False Claims Act
     l20 Marine                                            310 Airplane                  0 365 Per.wnal Injury                                                ofProperty 21 USC 881                              423 Withdrawal                                      376 Qui Tam (31 USC
�                                                                                                 Product Liability                                      690 Other                                                        28 USC 157                                     3729(a))
     130 Miller Act                                        315 Airplane Product
     ! 40 Negotiable lnstrument                                  Liability                      0
                                                                                             367 Health Olre/                                                                                                         IJIITEJ;,LECTUAL •                             400 State Reapportionment
0    I 50 Recovery of Overpayment X 320 Assault, Libel &                                         Pharmaceutical
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                                                                                                                                                                                                                                                   ITTS
                                                                                                                                                                                                                                                              --1--l
                                                                                                                                                                                                                                                                     410 Antitrust
             & Enforcement of Judgment                           Slander                         Personal Injury                                                                                                 820 Copyrights                                      430 Banks and Banking
0 151 Medicare Act                                         330 Federal Employers·                Product Liability                                                                                               830 Patent                                          450 Commerce
0 152 Recovery of Defaulted                                      Liability               O 368 Asbestos Personal                                                                                                 835 Patent. Abbreviated                             460 Deportation
              Student Loans                                340 Marine                             Injury Product                                                                                                         New Drug Application                        470 Racketeer Influenced and
              (Excludes Veterans)                          345 Marine Product                     Liability                                                                                                      840 Trademarl<                                          Corrupt Organizations
D 153 Recovery of Overpayment                                    Liability                PERSONAL PROPERTY l--r :-::--:-:LAB0 R.._                                                               � -LJ 880 Defend Trade Secrets                                     480 Consumer Credit
             of Veteran's Benefits                         350 Motor Vehicle             O 370 Other Fraud                                               =                '7'�
                                                                                                                                                         710 Fair Labor Standards
                                                                                                                                                                                          -:-:-'-'
                                                                                                                                                                                                                         Act of2016                                      (15 USC 1681 or 1692)
0    160 Stockholders' Suits                               355 Motor Vehicle             D 371 Truth in Lending                                               Act
                                                                                                                                                                                                     1-,----,======,,,,- r"
                                                                                                                                                                                                                                                           -         485 Telephone Consumer
0190 Other Contract                                             Product Liability        O 380 Other Personal                                            720 Labor/Management                                     SOCIAL SECORITY                                        Protection Act
D 195 Contract Product Liability 360 Other Personal                                               Property Damage                                             Relations                                           861 HIA (1395ft)                                   490 Cable/Sat TV
O 196 Franchise                                                 Injury                          O
                                                                                             385 Property Damage                                          740 Railway Labor Act                                   862    Black       Lung     (923)                  850 Securities/Commodities/
                                                           362 Personal Injury·                   Product Liability                                       751 Family and Medical                                 863 DIWC/OIWW (4-05(g))                                 Exchange
                                                                Medical Malpractice                                                                           Leave Act                                           864 SSID Title XVI                                 890 Oilier Statutory Actions

!-,1"!":'",,_;:;RE         RO :.;P;;:E.:.:,R,.::i;Y
                  AL,_:P.;:;:                    =·- --+   �· �C�IVF      �G�H;:;TS�
                                                                   �IL;.;;Rl       . � -+;;.;                                                        ·
                                                                                          ·pRIS�O N;,;;E�R�·P;.;;E;;.;TI'll·.::·:.; · .::O;.;N;,;;S;....  790 Other Labor Litigation                              86S RSI (4-0S(g))                                  891 Agricultural Acts
                 =:;::;                                                                          F.. Corpus:                                           F9 791 Employee Rctin;m.cnt

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                                                        -,-
     210 Land        Condemnation                          440 Other      Civil Rights       Babe                                                                                                                                                                    893 EnvironmentaJ Matters
0 220 Fon:closure                                          441 Voting                        463 Alien Detainee                                               Income Security Act                    1,,,,,.,.,FE
                                                                                                                                                                                                               , "' ·D
                                                                                                                                                                                                                  · "' ""E ""RM.·="
                                                                                                                                                                                                                                  '"      A=X s"'urr=s""·-M 895 Freedom oflnformation
                                                                                                                                                                                                                                      .":r"'
     230 Rent Lease & Ejectment                            442 Employment                    510 Motions to Vacate                                                                                                870 Taxes (U.S. Plaintiff                              Act
     240 Torts to Land                                     443 Housing/                           Sentence                                                                                                                or Defendant)                              896 Arbitration
     245 Tort Product Liability                                 Accommodations                530 General                                                                                             f           871 IRS-Third Party                                899 Administrative Procedure
                                                                                                                                                        �-- ....,           .,., .,.,, '"' "' ---�
0290 All Other Real Property                               445 Amer. w/Disabilitics •         535 Death Penalty                                               lMMJ!
                                                                                                                                                                    ,,,..
                                                                                                                                                                           G RA TI O N                                     26 USC 7609                                   Act/Review or Appeal of
                                                                Employment                    Other:                                                      462 Naturalization Application                                                                                 Agency Decision
                                                           446 Amer. w/Disabilities •         540 Mandamus & Other                                        465 Other Immigration                                                                                      950 Constitutionality of
                                                                 Other                        550 Civil Rights                                                Actions                                                                                                    State Statutes
                                                           448 Education                      555 Prison Condition
                                                                                              560 Civil Detalnee •
                                                                                                            Conditions of
                                                                                                            Confincm.ent
 V. ORIGIN (Place an ''X" in O,,e Box Only)
0 I Original                        D                                                                                                                                      Transferred from D 6 Multidistrict
     Proceeding
                   2 Removed from
                       State Court
                                                                                  03
                                                                                               Remanded from
                                                                                               Appellate Court
                                                                                                                                    0 4 Reinstated or
                                                                                                                                        Reopened
                                                                                                                                                                       O 5 Another District     Litigation­
                                                                                                                                                                                                                                                              D 8 Multidistrict
                                                                                                                                                                                                                                                                  Litigation -
                                                                                                 (specify)                           Transfer Direct File
                     Cite the U.S. Civil Statute under which you arc filing (Do not citejurisdictional sllltllteS Knies• rlivenily):
 VI. CAUSE OF ACTION 1-2-8-u_.s_.c_.,._ _ -3 --------------------------------
                                     § 13    2                                                                                                        --­
                       Brief description of
                        cause: 28:1332lb - Libel
 VII. REQUESTED IN                                         0 CHECK IF TIIlS IS A CLASS ACTION                                                     DEMAND$                                                      CHECK YES only ifdemanded in complaint:
             COMPLAINT:                                            UNDER RULE 23, F.R.Cv.P.                                                       1,000,000.00                                                 JURYDEMAND:                              GJYes             0No
 VIII. RELATED CASE(S)
                                                                 (See instructions):
              IF ANY                                                                              JUDGE                ______________ DOCKET NUMBER __________
 DATE                                                                                                 SIGNATURE OF                                                 JID
                                                                                                                                �
  July 19, 2024
 FOR OFFICE USE ONLY

      RECEIPT#                                  AMOUNT                                                       APPLYING IFP                                                     JUDGE                                             MAG.JUDGE
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